     Case 2:20-cv-11181-CAS-JPR Document 63 Filed 10/26/21 Page 1 of 2 Page ID #:1104




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 8                        UNITED STATES DISTRICT COURT
 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11     NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRx
       INC., a California Corporation,
12                                                  [PROPOSED] ORDER GRANTING
                   Plaintiff,                       JOINT STIPULATION TO MODIFY
13                                                  SUPPLEMENTAL BRIEFING
             v.                                     SCHEDULE
14
       INTERFOCUS, INC. d.b.a.                      The Hon. Christina A. Snyder
15     www.patpat.com, a Delaware
16
       Corporation; CAN WANG, and
       individual, and DOES 1-10, inclusive.,
17
                   Defendants.
18
19     INTERFOCUS, INC. d.b.a.
       www.patpat.com, a Delaware
20     Corporation; CAN WANG, an
       individual, and DOES 1-10, inclusive,
21
                   Counterclaim Plaintiffs,
22
             v.
23
       NEMAN BROTHERS & ASSOC.,
24     INC., a California Corporation,
25                 Counterclaim Defendant.
26
27           The Court having reviewed the Joint Stipulation to Modify Supplemental
28     Briefing Schedule,
                                                1
           [PROPOSED] ORDER GRANTING JOINT STIPULATION TO MODIFY SUPPLEMENTAL BRIEFING
                                             SCHEDULE
     Case 2:20-cv-11181-CAS-JPR Document 63 Filed 10/26/21 Page 2 of 2 Page ID #:1105




 1           IT IS ORDERED, ADJUDGED AND DECREED as follows:
 2           1. The date for Neman to file its reply brief for supplemental summary
 3              judgement briefing should be extended to November 23, 2021, and
 4              Interfocus will bear the difference between the reasonable cost of normal
 5              transcript delivery and expediated transcript delivery by Neman’s deposition
 6
                vendor, if any.
 7
             2. The cross motions for summary judgment hearing and the Further Status
 8
                Conference is continued to December 6, 2021, at 10:00 A.M.
 9
             3. Parties stipulate that Neman may have up to and including November 30,
10
                2021, to file a discovery motion relating exclusively to the Rule 30(b)(6)
11
                deposition.
12
             4. All other dates remain the same.
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       Dated: October 26, 2021               ___                             _______

16                                           The Honorable Christina A. Snyder

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           [PROPOSED] ORDER GRANTING JOINT STIPULATION TO MODIFY SUPPLEMENTAL BRIEFING
                                             SCHEDULE
